          Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 1 of 20




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------x
CHESTER PARK VIEW, LLC, and
LAZAR OSTREICHER,
                                 Plaintiffs,
                         v.

BEN SCHLESINGER, MARVIN                                               23 Cv. 5432 (CS)
LIPSCHITZ,· a/k/a MARVIN LIPSHUTZ,
MORDECHAI BECK and MEIR BERGER,
                                 Defendants.
---------------------------------------------------------x




                        MEMORANDUM OF LAW IN SUPPORT
                        OF MOTION TO DISMISS THE FIRST
                        AMENDED COMPLAINT ON BEHALF OF
                        DEFENDANTS BEN SCHLESINGER AND
                        MARVIN LIPSCHITZ




                                                         Jeremy Gutman
                                                         521 Fifth Avenue, 17th Floor
                                                         New York, New York 10175
                                                         (212) 644-5200
                                                         Attorney for Defendants
                                                         Ben Schlesinger and
                                                         Marvin Lipschitz
            Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 2 of 20




                                             TABLE OF CONTENTS

                                                                                                                             Page

INTRODUCTION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

ARGUMENT

         POINT ONE

         THE COMPLAINT DOES NOT ADEQUATELY PLEAD A RICO
         CLAIM AGAINST SCHLESINGER OR LIPSCHITZ. . . . . . . . . . . . . . . . . . . . . . 4

         A.        The Requirements for Pleading Wire Fraud as a RICO
                   Predicate. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

         B.        The Complaint Does Not Adequately Plead Any Legally
                   Cognizable Claim of Wire Fraud Against Schlesinger or
                   Lipschitz. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

                   1.        The Allegations Concerning Act 1
                             (Schlesinger’s and Lipschitz’s Execution of the
                             Contract With CPV) Are Insufficient to Plead
                             Wire Fraud as a RICO Predicate. . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

                   2.        The Allegations Concerning Act 5
                             (Schlesinger’s Execution and Filing of an
                             Assignment of Mortgage) Are Insufficient to
                             Plead Wire Fraud as a RICO Predicate. . . . . . . . . . . . . . . . . . . . . . 10

         C.        The Complaint Does Not Adequately Allege a RICO
                   Conspiracy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

         POINT TWO

         THE STATE LAW CLAIM OF FRAUD SHOULD BE DISMISSED FOR
         FAILURE TO STATE A CAUSE OF ACTION. . . . . . . . . . . . . . . . . . . . . . . . . . 12
            Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 3 of 20




                                                                                                                      Page

         POINT THREE

         IF THE RICO CLAIMS ARE DISMISSED, THE COURT SHOULD
         DECLINE TO EXERCISE SUPPLEMENTAL JURISDICTION OVER
         THE STATE LAW CLAIMS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15




                                                              ii
             Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 4 of 20




                                           TABLE OF AUTHORITIES

Cases                                                                                                                       Page

Bayshore Cap. Advisors, LLC v. Creative Wealth Media Fin. Corp.,
 22 Cv. 1105 (KMK), 2023 WL 2751049 (S.D.N.Y. Mar. 31, 2023). . . . . . . . . . . . 11, 12

Bridgestone/Firestone, Inc. v. Recovery Credit Servs., Inc., 98 F.3d 13
 (2d Cir. 1996). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10, 11

Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343 (1988).. . . . . . . . . . . . . . . . . . . . . . . . . 14

Cohen v. S.A.C. Trading Corp., 711 F.3d 353 (2d Cir. 2013). . . . . . . . . . . . . . . . . . . . . . . 6

Crawford v. Franklin Credit Mgmt. Corp., 758 F.3d 473 (2d Cir. 2014). . . . . . . . . . . . . . 6

DiVittorio v. Equidyne Extractive Indus., Inc., 822 F.2d 1242 (2d Cir. 1987). . . . . . . . 6-7

Eurycleia Partners, LP v. Seward & Kissel, LLP, 12 N.Y.3d 553 (2009). . . . . . . . . . . . 12

Faryniarz v. Ramirez, 62 F. Supp. 3d 240 (D. Conn. 2014). . . . . . . . . . . . . . . . . . . . . . . 10

Fuji Photo Film U.S.A. v. McNulty, 640 F.Supp.2d 300 (S.D.N.Y.2009) . . . . . . . . . . . . . 3

Gross v. Waywell, 628 F. Supp. 2d 475 (S.D.N.Y. 2009). . . . . . . . . . . . . . . . . . . . . . . . . . 3

Kirk v. Heppt, 423 F.Supp.2d 147 (S.D.N.Y.2006).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

Lerner v. Fleet Bank, N.A., 459 F.3d 273 (2d Cir.2006). . . . . . . . . . . . . . . . . . . . . . . . . . . 9

Lotes Co. v. Hon Hai Precision Industry Co., 753 F.3d 395
 (2d Cir. 2014). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

Lundy v. Cath. Health Sys. of Long Island Inc., 711 F.3d 106
 (2d Cir. 2013). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5, 8, 14

McKernin v. Fanny Farmer Candy Shops, Inc., 176 A.D.2d 233
 (2d. Dept. 1991). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13




                                                                iii
             Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 5 of 20




Negron v. Cigna Health & Life Ins., 300 F. Supp. 3d 341 (D. Conn. 2018). . . . . . . . . . . 11

O'Brien v. Nat'l Prop. Analysts Partners, 936 F.2d 674 (2d Cir.1991).. . . . . . . . . . . . . . . 9

Purgess v. Sharrock, 33 F.3d 134 (2d Cir.1994). . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13-14

Rosenson v. Mordowitz, 11 Cv. 6145 (JPO), 2012 WL 3631308
 (S.D.N.Y. Aug. 23, 2012). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2-3

Sudul v. Computer Outsourcing Servs., 868 F.Supp. 59 (S.D.N.Y.1994). . . . . . . . . . . . . 13

Sykes v. Mel Harris and Associates, LLC, 757 F. Supp. 2d 413
  (S.D.N.Y. 2010). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

Wexner v. First Manhattan Co., 902 F.2d 169 (2d Cir. 1990).. . . . . . . . . . . . . . . . . . . . 6-7

Zohar CDO 2003-1, Ltd. v. Patriarch Partners, LLC, 286 F. Supp. 3d 634
 (S.D.N.Y. 2017). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14

Statutes and Rules

18 U.S.C. § 1961(1). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

18 U.S.C. § 1962(c). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4, 7, 11-12

28 U.S.C. §1367 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13-14

Fed. R. Civ. Pro. 9(b).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5-11

Fed. R. Civ. Pro. 12(b)(6). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1




                                                               iv
          Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 6 of 20




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
CHESTER PARK VIEW, LLC, and
LAZAR OSTREICHER,
                                 Plaintiffs,
                         v.

BEN SCHLESINGER, MARVIN                                         23 Cv. 5432 (CS)
LIPSCHITZ,· a/k/a MARVIN LIPSHUTZ,
MORDECHAI BECK and MEIR BERGER,
                                 Defendants.
---------------------------------------------------------x


                        MEMORANDUM OF LAW IN SUPPORT
                        OF MOTION TO DISMISS THE FIRST
                        AMENDED COMPLAINT ON BEHALF OF
                        DEFENDANTS BEN SCHLESINGER AND
                        MARVIN LIPSCHITZ

                                         INTRODUCTION

        This memorandum is respectfully submitted in support of the application of

defendants Ben Schlesinger (“Schlesinger”) and Marvin Lipschitz (“Lipschitz”) for an

order, pursuant to Fed. R. Civ. Pro. 12(b)(6), dismissing the first amended complaint (the

“Complaint” or “FAC”) for failure to state a RICO claim, and on other grounds.

        The Complaint, as it relates to these two defendants, centers on their alleged

breach of a contract [Exhibit 1 to the Complaint], dated May 5, 2022, in which, acting on

behalf of a New York corporation, Anshei Sfard D’Monsey, Inc. (“ASD Inc.”), they

agreed to assign the mortgage on a Rockland County property (“the Property”) owned by

a religious corporation, Anshei Sfard D’Monsey (“ASD”), to plaintiff Chester Park View,

LLC (“CPV”). The contract also provided that Schlesinger and Lipschitz would transfer
           Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 7 of 20




control of the religious corporation to plaintiff Lazar Ostreicher and individuals affiliated

with him.

       Schlesinger and Lipschitz were prohibited from taking the actions contemplated by

the contract by a temporary restraining order (“TRO”) issued in a New York state court

action that was initiated against them and the present plaintiffs by present co-defendant

Mordechai Beck on May 13, 2022.1 The papers submitted in support of the application for

the TRO included documents indicating that Schlesinger and Lipschitz lacked authority to

enter into the contract on behalf of ASD Inc. and that, twenty years earlier, Beck had

acquired an interest in the Property and the religious corporation. The gravamen of the

Complaint is plaintiffs’ contention that those documents are fraudulent and that they have

been utilized to deprive the plaintiffs of the rights with respect to the Property and ASD to

which they are entitled under the contract.

       The invocation of federal RICO jurisdiction to resolve such a dispute illustrates

how “the allure of treble damages, attorney’s fees, and federal jurisdiction presents a

powerful incentive for plaintiffs to attempt to fit ‘garden variety fraud’ claims within the

standard of civil RICO,” Rosenson v. Mordowitz, 11 Cv. 6145 (JPO), 2012 WL 3631308,



       1
         The TRO, which was issued by Hon. Rolf M. Thorsten, Acting Justice of the Supreme
Court, Rockland County, on June 1, 2022, appears as NYSCEF Document 112 on the docket of
that state court action, Anshei Sfard DMonsey v. Anshei Sfard DMonsey Inc et al, Index No.
032153/2022 (Rockland County) (accessible at https://iapps.courts.state.ny.us/webcivil/
FCASeFiledDocsDetail?county_code=9P775HMLW2S2HUhF9pHe2A%3D%3D&txtIndexNo=
siEJSb2YLaIJenD4a0NTSA%3D%3D&showMenu=no&isPreRji=N&civilCase=8_PLUS_EJ7%
2F6icgo_PLUS_KNEWIJK2UQ%3D%3D).

                                              2
           Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 8 of 20




at *4 (S.D.N.Y. Aug. 23, 2012), and why federal courts must accordingly be “wary of

putative civil RICO claims that are nothing more than sheep masquerading in wolves’

clothing.” Kirk v. Heppt, 423 F.Supp.2d 147, 149 (S.D.N.Y.2006).2 As the court in Gross

v. Waywell, 628 F. Supp. 2d 475, 482 (S.D.N.Y. 2009), explained:

       By filing actions in federal courts that fall short of RICO’s substantive
       threshold, plaintiffs often seek the courts’ exercise of federal jurisdiction
       over litigation that more properly falls within the province of state law
       remedies. Exercise of federal court jurisdiction in such cases, especially
       those that rely on nothing more than incidental use of the mails or wires in
       furtherance of a simple fraudulent scheme with few victims and narrow
       impacts, would threaten to federalize garden-variety state common law
       claims, and offer a remedy grossly out of proportion to any public harm or
       larger societal interests associated with localized wrongful conduct
       ordinarily involved in such actions.

See also Fuji Photo Film U.S.A. v. McNulty, 640 F.Supp.2d 300, 308-09 (S.D.N.Y.2009)

(“Civil RICO should not be used to transform a garden variety fraud or breach of contract

case . . . into a vehicle for treble damages”).

       The Memorandum of Law submitted on behalf of co-defendants Beck and Berger

(“the Co-defendants’ Memorandum”) sets forth the multiple respects in which the

Complaint falls below the baseline standard for pleading a civil RICO claim, including its

failure to allege a “pattern” with the requisite “continuity,” its misplaced reliance on

litigation activity as predicate acts, and its failure to allege with the requisite particularity

conduct that would establish wire fraud. To avoid unnecessary repetition, we rely on and


       2
        Unless otherwise indicated, quotations in this memorandum omit all internal alterations,
quotation marks, footnotes, and citations.

                                                  3
         Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 9 of 20




incorporate by reference the legal analysis and arguments advanced in those papers.

Based on those arguments, insofar as they are applicable, as well as those presented

below, the Complaint should be dismissed as to defendants Schlesinger and Lipschitz.



                                       ARGUMENT

                                       POINT ONE

                     THE COMPLAINT DOES NOT
                     ADEQUATELY PLEAD A RICO CLAIM
                     AGAINST SCHLESINGER OR
                     LIPSCHITZ

       In its First Claim, which asserts a violation of the civil RICO statute [18 U.S.C. §

1962(c)], the Complaint alleges that ASD is an “enterprise” and that Schlesinger and

Lipschitz conducted and participated in its affairs through a pattern of racketeering

activity for the purpose of intentionally defrauding the plaintiffs. Complaint, ¶¶ 121-23. It

specifies the following as predicate acts of wire fraud in violation of 18 U.S.C. § 1343:

              Schlesinger’s and Lipschitz’s execution of the contract with
              CPV while over Zoom . . . . [¶ 120] (“Act 1”)

              Defendants’ creation and electronic transmission of the
              Fraudulent Meeting Minutes . . . .[¶ 121] (“Act 2”)

              Beck’s creation and electronic transmission of the Fraudulent
              Certificate. . . . [¶ 122] (“Act 3”)

              Defendants’ creation and electronic transmission of the
              Fraudulent Agreement. . . . [¶ 123] (“Act 4”)




                                              4
         Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 10 of 20




              Schlesinger’s execution and filing of the Satisfaction of
              Mortgage . . . . [¶ 124] (“Act 5”)

              Defendants’ direction to others, in particular, Blum, to email
              Rabbi Ostreicher while Rabbi Ostreicher was in Israel to
              mislead him about Beck’s willingness to participate in the
              Bais Din . . . . [¶ 126] (“Act 6”)

The Complaint also alleges that the defendants engaged in “predicate acts” by “[using]

the Property and ASD under the shield of New York’s Religious Corporation Law, when

there was no congregation, no bank account for ASD and no operating documents for

ASD ” [¶ 125], but it does not allege that this constituted wire fraud or any other offense

listed under the definition of “racketeering activity” in 18 U.S.C. § 1961(1).

       A.     The Requirements for Pleading Wire Fraud as a RICO
              Predicate

       A complaint alleging wire fraud as the predicate act of a RICO claim must show

“(1) the existence of a scheme to defraud; (2) defendant’s knowing or intentional

participation in the scheme; and (3) the use of interstate . . . transmission facilities in

furtherance of the scheme.” Sykes v. Mel Harris and Associates, LLC, 757 F. Supp. 2d

413, 425 (S.D.N.Y. 2010). Because a complaint alleging fraud must also satisfy the

pleading requirements of Fed. R. Civ. Pro. 9(b), the plaintiff must “adequately specify the

statements it claims were false or misleading, give particulars as to the respect in which

plaintiff contends the statements were fraudulent, state when and where the statements

were made, and identify those responsible for the statements.” Lundy v. Cath. Health Sys.

of Long Island Inc., 711 F.3d 106, 119 (2d Cir. 2013). It must also “plead those events

                                                5
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 11 of 20




which give rise to a strong inference that the defendant[ ] had an intent to defraud,

knowledge of the falsity, or a reckless disregard for the truth.” Cohen v. S.A.C. Trading

Corp., 711 F.3d 353, 359 (2d Cir. 2013). See also Crawford v. Franklin Credit Mgmt.

Corp., 758 F.3d 473, 489 (2d Cir. 2014)(“RICO claims premised on mail or wire fraud

must be particularly scrutinized because of the relative ease with which a plaintiff may

mold a RICO pattern from allegations that, upon closer scrutiny, do not support it”).

       B.     The Complaint Does Not Adequately Plead Any Legally
              Cognizable Claim of Wire Fraud Against Schlesinger or
              Lipschitz

       As discussed in the Co-Defendant’s Memorandum at page 12, Acts Two, Three,

and Four, which concern the filing of documents in support of the state court application

for a TRO, are “litigation activities,” which cannot constitute RICO predicates of wire

fraud. Additionally, Act Three is attributed solely to an individual referred to as “Beck”

(and identified elsewhere in the Complaint as “Morcha Beck,” who, according to the

plaintiffs, may or may not be an “actual person,” [FAC, ¶ 67)]), while Acts Two and Four

refer only to the undifferentiated “Defendants.” As a consequence, the allegations

regarding the latter two predicate acts fail to satisfy the heightened standard of pleading

fraud “with particularity” [Rule 9(b)], which requires that the plaintiff “specify the

content, date, and place of any misrepresentations, and the identity of the persons making

them,” Wexner v. First Manhattan Co., 902 F.2d 169, 172-73 (2d Cir. 1990), and that

“[w]here there are multiple defendants, the plaintiff must allege facts specifying each


                                              6
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 12 of 20




defendant’s contribution to the fraud.” DiVittorio v. Equidyne Extractive Indus., Inc., 822

F.2d 1242, 1247 (2d Cir. 1987).

       Act 6, concerning alleged efforts to mislead Ostreicher about Beck’s willingness to

participate in a Bais Din, is similarly defective because it refers only to the

undifferentiated “Defendants.” It should also be noted that, earlier in the First Claim, the

Complaint attributes the conduct underlying this alleged predicate solely to co-defendants

Beck and Berger [FAC, ¶ 117(h)] and that, in the preceding narrative, it refers only to

Beck as the perpetrator of this alleged fraud. See ¶ 47.

       For the reasons discussed below, the only two acts that are specifically attributed

to Schlesinger and/or Lipschitz also fail to rise to the level of RICO predicates, and thus

do not support a claim that these defendants conducted the activities of an enterprise

“through a pattern of racketeering activity” [§ 1962(c)].

              1.      The Allegations Concerning Act 1
                      (Schlesinger’s and Lipschitz’s Execution of
                      the Contract With CPV) Are Insufficient to
                      Plead Wire Fraud as a RICO Predicate

       The plaintiffs do not explain how they were defrauded by Schlesinger’s and

Lipschitz’s execution of the agreement with CPV. In connection with the state law claim

of fraud (plaintiffs’ Fourth Claim), the Complaint alleges that the agreement contained

the following misrepresentations: (a) that Schlesinger and Lipshitz were the sole

shareholders, officers and directors of ASD Inc; (b) that they were the sole Trustees of

ASD; (c) that the execution of the agreement was fully authorized by ASD Inc.; (d) that

                                               7
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 13 of 20




Schlesinger and Lipshutz had authority to bind ASD Inc.; and (e) that there were no

pending agreements, transactions or negotiations with ASD Inc that would void the

agreement with CPV. [FAC, ¶ 144] As noted above, when pleading a cause of action

sounding in fraud, the plaintiff must not only “specify the statements it claims were false

or misleading,” but must “give particulars as to the respect in which plaintiff contends the

statements were fraudulent.” Lundy, 711 F.3d at119.

       Not only does the Complaint fail to explain the basis for its contention that the

representations in the contract were “false or misleading,” its central premise is that each

of these statements was true and that the documents suggesting otherwise are

“fraudulent.” See, e.g. FAC, ¶ 24 (“So, as of January 1, 2002, the sole remaining ASD

trustees were Marvin Lipschitz and Ben Schlesinger, who remained the sole ASD trustees

through December 23, 2021”); ¶ 28 (“Again, since 2002, Schlesinger and Lipschitz had

been the only two trustees of ASD and so had total control over ASD”); and ¶¶ 57-85

(characterizing the documents submitted in state court to establish that Schlesinger and

Lipschitz were not the sole trustees of ASD or the sole officers of ASD Inc., and that

Beck had acquired an interest in ASD and the Property as the “Fraudulent Meeting

Minutes,” the “Fraudulent Certificate,” and the “Fraudulent Agreement”). Thus,

accepting all statements in the Complaint as true, as it must when considering a motion to

dismiss, Lotes Co. v. Hon Hai Precision Industry Co., 753 F.3d 395, 403 (2d Cir. 2014),

the Court should recognize that the plaintiffs have not satisfied the standard for pleading


                                              8
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 14 of 20




that the contract included false representations. On the contrary, the overarching theory of

the Complaint is that those statements were true.

       In addition, although Rule 9(b) permits intent and other states of mind to be

“averred generally,” a plaintiff must nonetheless “allege facts giving rise to a strong

inference of fraudulent intent, which may include facts showing that the defendant(s) had

both motive and opportunity to commit fraud, or facts that constitute strong circumstantial

evidence of conscious misbehavior or recklessness.” Lerner v. Fleet Bank, N.A., 459 F.3d

273, 290–91 (2d Cir.2006); see also O'Brien v. Nat'l Prop. Analysts Partners, 936 F.2d

674, 676 (2d Cir.1991) (inference of scienter must be supported by “ample factual

basis”). Here, the plaintiffs offer no basis for inferring that Schlesinger and Lipschitz

intended to injure the plaintiffs in their property rights when they entered into the

contract, or that they had any motive to do so. Notwithstanding its vague suggestion that

“[e]ven while Schlesinger and Lipschitz were selling the ASD Note to CPV and control

over ASD to Rabbi Ostreicher, Beck, Schlesinger and Lipschitz were working to cement

Beck’s control over ASD,” [FAC, ¶ 45], the Complaint does not offer any substantive

basis for concluding that Schlesinger or Lipschitz contemplated a sale to Beck (or that

Beck indicated any interest in acquiring control of the Property) prior to the execution of

the contract with the plaintiffs on May 5, 2022. See FAC, ¶ 46 (alleging that Ostreicher

learned of Beck’s interest in the Property after the May 5th transaction) and ¶¶ 51-52




                                              9
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 15 of 20




(alleging that Schlesinger stated on May 9, 2022, that he would sell to Beck if he was

willing to pay more than Ostreicher).

       In any event, even if the Complaint contained sufficient allegations to support a

claim that Schlesinger and Lipschitz did not intend to fulfill their obligations under the

agreement at the time they entered it, that would not turn the signing of the contract into a

predicate act of wire fraud. See, e.g. Faryniarz v. Ramirez, 62 F. Supp. 3d 240, 253 (D.

Conn. 2014)(“a false promise by a party to a contract that he will fulfill the terms of an

agreement, [ ] does not constitute predicate criminal activity in [the RICO] context”)

(citing Bridgestone/Firestone, Inc. v. Recovery Credit Servs., Inc., 98 F.3d 13, 19-20 (2d

Cir. 1996)).

               2.    The Allegations Concerning Act 5
                     (Schlesinger’s Execution and Filing of an
                     Assignment of Mortgage) Are Insufficient to
                     Plead Wire Fraud as a RICO Predicate

       The Complaint’s entire discussion of the fifth alleged predicate act consists of the

following paragraph:

               On or about July 13, 2022, Schlesinger executed a satisfaction
               of mortgage on behalf of himself and ASD Inc. of the ASD
               Note – the very same note he had sold to CPV just over two
               months prior – further assisting Beck and the enterprise with
               the attempted to transfer of control over ASD and the
               Property to Beck and his cronies, which note was filed with
               the County Clerk in Rockland County. [FAC, ¶ 108]

This conduct does not involve any false or misleading statement – or, indeed, any

statement whatsoever – that was communicated to the plaintiffs or that they could

                                             10
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 16 of 20




arguably have relied on to their detriment. Nor does it involve any use of interstate wires.

Thus, it does not in any way assert a plausible cause of action for wire fraud.

       Moreover, the only injury the plaintiffs assert with respect to this conduct is one

that arises from an alleged breach of Schlesinger’s and Lipshitz’s agreement to assign the

mortgage to CPV. Under the doctrine announced by the Second Circuit in

Bridgestone/Firestone, Inc., 98 F.3d at 19-20, such an injury cannot support a RICO

predicate based on fraud. See Bayshore Cap. Advisors, LLC v. Creative Wealth Media

Fin. Corp., 22 Cv.1105 (KMK), 2023 WL 2751049, at *24 (S.D.N.Y. Mar. 31, 2023)(“A

plaintiff asserting fraud based on a counterparty’s allegedly false promise to perform

must: (i) demonstrate a legal duty separate from the duty to perform under the contract;

(ii) demonstrate a fraudulent misrepresentation collateral or extraneous to the contract; or

(iii) seek special damages that are caused by the misrepresentation and unrecoverable as

contract damages”). See also Negron v. Cigna Health & Life Ins., 300 F. Supp. 3d 341,

364 (D. Conn. 2018) (“In the RICO context, the statement upon which the fraud is

predicated must be more than a false promise by a party to a contract that the party will

fulfill the terms of the agreement”).

       C.     The Complaint Does Not Adequately Allege a RICO
              Conspiracy

       Because the Complaint does not meet the standard for pleading a substantive

RICO violation by Schlesinger or Lipschitz, it also fails to support a claim that they

engaged in a conspiracy in violation of § 1962(d), as alleged in its Second Claim [¶¶ 134-

                                             11
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 17 of 20




39]. See Bayshore Cap. Advisors, 2023WL 2751049, at *28 (“because Plaintiffs have not

sufficiently stated a substantive RICO claim under § 1962(c), Plaintiffs’ conspiracy claim

fails as a matter of law”). As shown in the Co-Defendants’ Memorandum, at pages 17-

21, the Complaint contains no factual allegations that would establish a conspiracy to

cause “investment” or “acquisition” injury under Section 1962(a) or (b). Rather, it merely

recites the statutory language relating to conspiracies with those objects. See Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)(to survive a motion to dismiss, “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not

suffice”).

                                       POINT TWO

                     THE STATE LAW CLAIM OF FRAUD
                     SHOULD BE DISMISSED FOR FAILURE
                     TO STATE A CAUSE OF ACTION

       For essentially the same reasons as those discussed in Point One(B)(1), supra, with

respect to the plaintiffs’ effort to plead a predicate act of wire fraud based on

Schlesinger’s and Lipschitz’s execution of the contract with CPV, the plaintiffs’ Fourth

Claim [Complaint, ¶¶ 147-52] also fails to state a plausible cause of action for fraud

under New York state law. The elements of such a cause of action require “a material

misrepresentation of a fact, knowledge of its falsity, an intent to induce reliance,

justifiable reliance by the plaintiff and damages.” Eurycleia Partners, LP v. Seward &

Kissel, LLP, 12 N.Y.3d 553, 559 (2009). As we have shown, rather than demonstrating a


                                              12
         Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 18 of 20



“material misrepresentation of fact,” the Complaint alleges that the contract contained

representations that, according to the plaintiffs, are true.

       Additionally, in New York it is “well settled that where . . . a claim to recover

damages for fraud is premised upon an alleged breach of contractual duties and the

supporting allegations do not concern representations which are collateral or extraneous

to the terms of the parties’ agreement, a cause of action sounding in fraud does not lie.”

McKernin v. Fanny Farmer Candy Shops, Inc., 176 A.D.2d 233, 234 (2d. Dept. 1991).

See also Sudul v. Computer Outsourcing Servs., 868 F.Supp. 59, 62 (S.D.N.Y.1994)

(under New York law, “where a fraud claim arises out of the same facts as plaintiff’s

breach of contract claim, with the addition only of an allegation that defendant never

intended to perform the precise promises spelled out in the contract between the parties,

the fraud claim is redundant and plaintiff’s sole remedy is for breach of contract”).

                                       POINT THREE

              IF THE RICO CLAIMS ARE DISMISSED, THE
              COURT SHOULD DECLINE TO EXERCISE
              SUPPLEMENTAL JURISDICTION OVER THE STATE
              LAW CLAIMS

       The Complaint asserts that this Court has supplemental jurisdiction over the state

law claims pursuant to 28 U.S.C. §1367 [FAC, ¶ 7]. Under that statute, “the district court

[ ] may decline to exercise supplemental jurisdiction over a claim . . . if the district court

has dismissed all claims over which it has original jurisdiction” [§ 1367(c)(3)]. In

exercising its discretion under that statute, a district court may “weigh and balance several


                                               13
           Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 19 of 20



factors, including considerations of judicial economy, convenience, and fairness to

litigants.” Purgess v. Sharrock, 33 F.3d 134, 138 (2d Cir.1994). “When the balance of

these factors indicates that a case properly belongs in state court, as when the federal-law

claims have dropped out of the lawsuit in its early stages and only state-law claims

remain, the federal court should decline the exercise of jurisdiction by dismissing the case

without prejudice.” Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988). See also

Lundy, 711 F.3d at 118 (“Once all federal claims have been dismissed, the balance of

factors will usually point toward a declination”).

       In the present case, there has been no discovery and no litigation other than the

filing of motions to dismiss. Additionally, the Court may take judicial notice that

plaintiffs’ claim of breach of contract (which is the only viable state law claim, see Point

Two, supra) is currently pending as a crossclaim filed against Schlesinger and Lipschitz

in the Supreme Court, Rockland County.3 In Zohar CDO 2003-1, Ltd. v. Patriarch

Partners, LLC, 286 F. Supp. 3d 634, 653-55 (S.D.N.Y. 2017), the pendency of a

duplicative action in state court was among the factors leading to the court’s conclusion

that “interests of economy, convenience, comity, and fairness weigh against exercising

supplemental jurisdiction” over state law claims. The same conclusion is warranted here.




       3
        The state court filing, Anshei Sfard DMonsey v. Anshei Sfard DMonsey, Inc. et al, Index
No. 032153/2022 (NYSCEF Doc. No. 160), which contains the crossclaim at paragraphs 59-65,
is submitted as an exhibit accompanying this memorandum.

                                              14
        Case 7:23-cv-05432-CS Document 40 Filed 10/23/23 Page 20 of 20



                                    CONCLUSION

      For the reasons discussed above and in the Co-Defendants’ Memorandum, the

Complaint should be dismissed in its entirety.

                                                 Respectfully submitted,


                                                   /s/
                                                 Jeremy Gutman
                                                 521 Fifth Avenue, 17th Floor
                                                 New York, New York 10175
                                                 (212) 644-5200
                                                 Attorney for Defendants
                                                 Ben Schlesinger and
                                                 Marvin Lipschitz


October 23, 2023




                                            15
